Case 5:21-cv-00088-TES Document 30-1 Filed 02/25/22 Page 1 of 12
Case 5:21-cv-00088-TES Document 30-1 Filed 02/25/22 Page 2 of 12
Case 5:21-cv-00088-TES Document 30-1 Filed 02/25/22 Page 3 of 12
Case 5:21-cv-00088-TES Document 30-1 Filed 02/25/22 Page 4 of 12
Case 5:21-cv-00088-TES Document 30-1 Filed 02/25/22 Page 5 of 12
Case 5:21-cv-00088-TES Document 30-1 Filed 02/25/22 Page 6 of 12
Case 5:21-cv-00088-TES Document 30-1 Filed 02/25/22 Page 7 of 12
Case 5:21-cv-00088-TES Document 30-1 Filed 02/25/22 Page 8 of 12
Case 5:21-cv-00088-TES Document 30-1 Filed 02/25/22 Page 9 of 12




                       EXHIBIT 1
       Case 5:21-cv-00088-TES Document 30-1 Filed 02/25/22 Page 10 of 12




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION


 MICHAEL GOULDIE,
               Plaintiff,

 v.                                                     CIVIL ACTION
                                                        NO. 5:21-cv-00088-TES
 TRACE STAFFING SOLUTIONS, LLC,
                 Defendant.


                [PROPOSED] ORDER GRANTING JOINT MOTION FOR
                           SETTLEMENT APPROVAL

       This matter comes before the Court on the Joint Motion For Settlement approval (“Joint

Motion”) filed by Plaintiff Michael Gouldie (“Plaintiff”) and Defendant Trace Staffing Solutions,

LLC (“Defendant”) (collectively “the Parties”) in the above-captioned action. Upon review of the

Joint Motion and the terms of the Settlement Agreement and Release reached, and having

otherwise reviewed the record and pleadings in this action, the Court makes the following

observations and conclusions and renders the following Order:

       1.      Plaintiff, a former employee of Defendant, filed a Complaint on March 15, 2021

alleging that Defendant improperly classified him as exempt employees and failed to pay overtime

in violation of the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq.

(“FLSA”).

       2.      Defendant denies Plaintiff’s allegations that he was misclassified, that he was not

compensated properly, that he is entitled to overtime compensation, and that he is entitled to any

damages whatsoever under the FLSA.

       3.      To avoid potentially costly and protracted litigation, the Parties desire to fully and

finally resolve this action with prejudice, as to all counts, claims, and parties under the FLSA. The
       Case 5:21-cv-00088-TES Document 30-1 Filed 02/25/22 Page 11 of 12




parties seek the Court’s approval of the settlement terms pursuant to Lynn’s Food Stores, Inc. v.

United States, 679 F.2d 1350, 1352 (11th Cir. 1982).

        4.      Counsel for the Parties provided the Court with all information necessary to rule

upon this motion, including the sums to be paid by Defendant to Plaintiff in consideration for the

agreement to fully and finally resolve this matter with prejudice. Counsel for the Parties

represented to the Court that, in counsels’ opinions, the amount to be paid by Defendant to Plaintiff

represents a fair and reasonable compromise of his claims in light of the cost and risk of continued

litigation. These risks include, without limitation, that Defendant could prevail outright on the

merits or that the Court finds the FLSA’s two-year statute of limitations applies–either of which

could foreclose Plaintiff’s rights to any recovery in this action.

        5.      Counsel for the Parties also disclosed to the Court the amount to be paid by

Defendant to Plaintiff’s counsel as attorneys’ fees and costs.

        6.      Pursuant to Lynn’s Food Stores, the Court finds that the settlement terms, including

the amounts to be paid to Plaintiff and his counsel, represent a fair, reasonable, and just

compromise of disputed issues, and that the settlement proposed by the Parties is hereby approved.

        7.      The Parties have been represented by experienced employment counsel throughout

the litigation. There is no evidence of fraud or collusion with respect to the settlement; rather, the

Parties desire to fully and finally resolve this action efficiently, without resort to costly or lengthy

litigation, particularly with the inherent risk associated with continued litigation for Plaintiff and

Defendant.

        8.      This Order is a final order for appellate purposes as it disposes of the issues in this

litigation subject to the Court reserving jurisdiction to enforce the terms of the settlement.




                                                   2
     Case 5:21-cv-00088-TES Document 30-1 Filed 02/25/22 Page 12 of 12




     WHEREFORE, it is hereby ORDERED AND ADJUDGED that the Joint Motion is

GRANTED. It is further ORDERED AND ADJUDGED that this case is DISMISSED WITH

PREJUDICE.

     DONE AND ORDERED this ______ day of _____________________, 2022.

                             ____________________________________
                             HONORABLE TILMAN E. (TRIPP) SELF
                             UNITED STATES DISTRICT JUDGE




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